Case 1:23-cv-01004-RP Document178 Filed 08/05/24 Page FP =D

UNITED STATES DISTRICT COURT

|
WESTERN DISTRICT OF TEXAS AUG
AUSTIN DIVISION CLERICUS
TIEDE bY Seu
¥ x CIVIL ACTION NO.1:23-cv-1004
COLLIER

RESPONSE TO DEFENDANT'S OPPOSITION TO CLASS-INTERVENTION

COMES NOW, The #4-Intervenors CLASS pursuant to Fed.R.Civ.P.-19 and
24, and moves this Court to reject the Defendant's request to disallow
intervention and Class Certification. In support thereof would show as
follows:

1.First, and foremost the example of what is happening with these
DEfendants in the Pack Unit Heat Lawsuit; these same Defendants are
continuing to house these same prisoners in Exterme Heat, and WEAPONIZING
the repeated transfers (allegédly) to accomedate one for the heat. They
do this by placing prisoners in Ad.Seg. and/or leaving them in transit
for months before either transfering them to another unit away from his
Family. Thus, when one is moved to an airconditioned place, he will only
be there for awhile, then they may end up anywhere. This discourages one
from seeking relief from the heat;

2.These Defendants allege that they will be harmed. This is false for
they will have information from all of these Intervenors because these
same facts have been placed before these Defendants since 2017-18 in
multiple lawsuit.-see ARMOUR Vv DAVIS, 6:18-cv-535 This case shows that
there khawe has been hundreds of grievances filed about the EXTREME HEAT
and other unconstional living conditions. Plus it shows evidence that
was placed before the Courts. The Defadants alleged that the Interventors
related issues that go back twenty-six years ago;the reason being because
the same conditions still exist inspite the settlemant in the Pack Unit
lawsuit. Their treatment of the Plaintiffs in that lawsuit is even more
evidence as to why this lawsuit must be a Class-Action that includes
every prisoner and every unit in TDCI. Without such TDCJ will continue
to play hide and seek with the relief that they are suppose to provide.

3.These Defendants allege that these Intervenors are already repre-
sented. How can this be so without this case being Certifide as a Class-

Action. This is how they give prisoners the runaround when they ask for
relief that was offered in other cases.
Case 1:23-cv-01004-RP

Document 178 Filed 08/05/24 Page2of5

A.Finally, each of the 34-Interventors meet each of the Four Part
test for leave to Intervene as set-out in ped. R.Civ.P.-24(a) (2) and
24(b)(2).-see BEOC V COMMERCIAL SERVICE, 220 F.R.D. 300 (TX §.D.2004)

CONCLUSION

The Extreme Heat is an issue that has been grived to these Defendants
for years, if not decades, which dates back to when $800,000 was spent
for aircondition facilities for the hogs .-see ARMOUR, Supra. The Pliantiff
Tiede can not protect the interest of these 34-Interventors nor the
interest of the 130,000 prisoners who are subjected to the Extreme Heat
of the Texas Summers. The protocals that the Defendants would allege
that they provide are jugt PAPERWORK! The reality is another story that
only a thorough investion of each unit will reveal the magnitude of this
ongoing abusezand it can only be accomplished by a Special Master from
the Department of Justice. Anything less will only result in this matter
to come before the Court year after. ius, Intervention should be
permitted and this matter certifide as a Class-Action, not only for these

34-Interventors, but for the entire pody of TDCJ pr|lsoners.-

RESPECTFULLY REQUESTED,

Le
Case 1:23-cv-01004-RP Document 178 Filed 08/05/24 Page 3 of 5

CERTIFICATE OF SERVICE

We, The Undersigned Intervenors, do hereby certify and declare
that on this 30th Day of July 2024, pursuant to 28 USC 1746, CALDWELL
vy AMEND, 30 F.3d 1119, and under penalty of perjury that we have served
the Defendants with the Foregoing Response To The Defendant's Opposition
To Class-Intervention by placing same in a sealed envelope, addressed
to the Clerk of the Western Disdrict of gexas/501 W. Sth Ste, Rm.1100
Austin, TX 78701, and placing a COpy of same in a sealed envelope,
addressed to the Texas Attorney General's of fice/BRANDON LIVENGOOD
P.O.Box 12548 with first class postage prepaid, and placed in the U.S.
Mail.

Case 1:23-cv-01004-RP Document178 _ Filed 08/05/24 Page4of5

THE oupe FY beeiee | \ - D CLERK-U.S.DISTRICT COURT

COFFIELD UNIT WESTERN DISTRICT TEXAS

3661 FM 2054ANG - 5 2024 501 W. Sth St., Rm.1100
TENN COLON} Ve etaitt COURT, AUSTIN, TX 78701
CLERK. V ©: FTE
RICT O
WESTERN BST

__$—=7 1 ERK
BY___——pepuTy CLERK = guLy 30, 2024

RE: TIEDE v COLLIER, 1:23-cv-1004

Dear Clerk,

Please find enclosed for filing INSTANTER Our Request/Response To
Defendant's Opposition to Class-Intervention. Please file and return
to us one stamped-filed copy of same. Also, be advised that a cofy of

same has been mailed to the parties.

THANKING YOU IN ADVANCE FOR YOUR PROMPT ASSISTANCE.

CC:LEAD ATTORNEY GENERAL-BRANDON LIVENGOOD
LEAD ATTORNEY-TABIANA SANTOLLO
Page 5 of 5

Filed 08/05/24

Document 178

Case 1:23-cv-01004-RP

Delano Crifhiy #59 =
BR Gant OH

AGI FM 205¢

Fea Colony 15.0bp-

LEGAL

a

NORTH TEXAS Tx PRpc

DALLAS Tx 750
2 AUG 2024 pms 1

Cerke U5 Nivel Cour

WesJeru/ Lisi

ef g

Sol Wh SKA KL
Hust, KX 7314

iseeLHL TE ypegpests jy lfieapl i cdesdjigy

T Jekas
L00

AUG 05 2024

aillifdey —
